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                       UNITED STATES DISTRICT COURT
                            DISTRICT OF MAINE


 UNITED STATES OF AMERICA              )
                                       )
       v.                              )      1:12-cr-00160-JAW
                                       )
 MALCOLM A. FRENCH, et al.             )


                          FINAL SENTENCING ORDER

       The Court resolves the remaining sentencing guideline issues in favor of the

 Government, concluding that two of the Defendants are subject to aggravating role

 enhancements under United States Sentencing Guideline (U.S.S.G.) § 3B1.1, that

 neither of these Defendants is entitled to safety valve treatment under U.S.S.G. §

 5C1.2, that a third Defendant is not entitled to a downward departure under U.S.S.G.

 § 5H1.6 for family ties and responsibilities, that a Defendant is not entitled to a

 downward departure under U.S.S.G. § 5H1.3 for his mental conditions and U.S.S.G.

 § 5H1.4 for his physical conditions, and that a Defendant is not entitled to a

 downward departure for public service under U.S.S.G. § 5H1.11.

 I.    BACKGROUND

       A.    Procedural History

       On January 24, 2014, a federal jury found Malcolm French, Rodney Russell,

 and Kendall Chase guilty of several federal crimes involving a conspiracy to

 manufacture and a conspiracy to distribute marijuana. Jury Verdict Form (ECF No.

 311); Superseding Indictment (ECF No. 187). The Probation Office (PO) prepared
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 and revised a Presentence Investigation Report (PSR) on each Defendant. French

 PSR; Russell PSR; Chase PSR.

        On June 2, 2015, the Government filed a sentencing memorandum addressing

 a number of potential sentencing issues.             Gov’t’s Consolidated Mem. in Aid of

 Sentencing (ECF No. 519) (Gov’t’s Mem.).               Each Defendant responded to the

 Government’s memorandum and raised some new issues. On July 30, 2015, July 31,

 2015, and August 6, 2015, Mr. French, Mr. Chase and Mr. Russell filed responsive

 memoranda. Def. Malcolm French’s Mem. in Aid of Sentencing                      (ECF No. 551)

 (French Mem.); Def.’s Corrected Mem. in Aid of Sentencing (ECF No. 553) (Chase

 Mem.); Def. Rodney Russell’s Sentencing Mem. (ECF No. 562) (Russell Mem.). On

 August 12, 2015, the Government filed a reply memorandum. Gov’t’s Consolidated

 Reply Mem. in Aid of Sentencing (ECF No. 571) (Gov’t’s Reply).1

        On February 3, 2016, Malcolm French filed another sentencing memorandum.

 Def. Malcolm French’s Suppl. Sentencing Mem. (ECF No. 608) (French Suppl. Mem.).

 On February 5, 2016, the Government filed another sentencing memorandum. Gov’t’s

 Mem. in Aid of Sentencing (ECF No. 612) (Gov’t’s Suppl. Mem.). On March 18, 2016,

 Mr. French filed a second supplementary memorandum addressing a number of

 issues, including his entitlement to a safety valve reduction. Def. Malcolm French’s



 1       On January 29, 2016, the Government filed a sentencing memorandum on the admissibility of
 a polygraph examination of Mr. French at the sentencing hearing. Gov’t’s Mem. in Aid of Sentencing
 Regarding Def. French’s Polygraph Evid. (ECF No. 607). On February 8, 2016, Mr. French filed a
 memorandum on the polygraph issue. Def. Malcolm French’s Mem. of Support [for] Admis. of
 Polygraph Test Results for Sentencing Purposes (ECF No. 614). On March 9, 2016, the Government
 filed another memorandum on a variety of sentencing issues. Gov’t Mem. in Aid of Sentencing (ECF
 No. 631). The Court addressed these issues in a separate order. Sentencing Order on Obstruction of
 Justice Enhancement (ECF No. 652).

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 Second Suppl. Sentencing Mem. at 11-12 (ECF No. 635) (French’s Second Suppl.

 Mem.). On March 28, 2016, Mr. Russell filed a supplementary memorandum on the

 safety valve. Def. Rodney Russell’s Resp. to Def. French’s Mem. at Doc. 635—Safety

 Valve (ECF No. 642) (Russell Suppl. Mem.). On March 30, 2016, the Government

 filed a final memorandum. Gov’t’s Mem. in Aid of Sentencing (ECF No. 644) (Gov’t’s

 Final Mem.).

       In anticipation of the April 21, 2016 sentencing hearing, the Court issued a

 number of sentencing orders. Sentencing Order on Drug Quantity (ECF No. 647);

 Sentencing Order on Firearms Enhancement (ECF No. 648); Sentencing Order on

 Obstruction of Justice Enhancement (ECF No. 652) (Obstruction Order). This final

 order addresses all remaining guideline sentencing issues. The Court will discuss

 the sentencing analysis under 18 U.S.C. § 3553(a) at the hearing, including the

 parties’ arguments about marijuana as a Schedule I drug.

       B.       Remaining Guidelines Issues

       The parties submitted memoranda concerning the following remaining

 guideline issues:

       (1) Whether Malcolm French and Rodney Russell had aggravating roles

            in the commission of these offenses pursuant to U.S.S.G. § 3B1.1;

       (2) Whether Malcolm French or Rodney Russell are entitled to a safety

            valve reduction under U.S.S.G. § 5C1.2(a)(1);

       (3) Whether Kendall Chase is entitled to a downward departure under

            U.S.S.G. § 5H1.6 for family ties and responsibilities;



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       (4) Whether Rodney Russell is entitled to a downward departure under

            U.S.S.G. § 5H1.3 for his mental conditions and § 5H1.4 for his

            physical conditions; and

       (5) Whether Rodney Russell is entitled to a downward departure for

            public service under U.S.S.G. § 5H1.11.

 II.   THE AGGRAVATING ROLE ENHANCEMENT: MALCOLM FRENCH
       AND RODNEY RUSSELL—U.S.S.G. § 3B1.1

       A.      The Enhancement

       Section 3B1.1 of the guidelines provides:

       Based on the defendant’s role in the offense, increase the offense level
       as follows:
              (a) If the defendant was an organizer or leader of a criminal
                  activity that involved five or more participants or was
                  otherwise extensive, increase by 4 levels.
              (b) If the defendant was a manager or supervisor (but not an
                  organizer or leader) and the criminal activity involved five or
                  more participants or was otherwise extensive, increase by 3
                  levels.
              (c) If the defendant was an organizer, leader, manager, or
                  supervisor in any criminal activity other than described in (a)
                  or (b), increase by 2 levels.

 U.S. SENTENCING GUIDELINES MANUAL § 3B1.1 (U.S. SENTENCING COMM’N 2015)

 [hereinafter U.S.S.G.]. Comment Four to U.S.S.G. § 3B1.1 states:

       In distinguishing a leadership and organizational role from one of mere
       management or supervision, titles such as “kingpin” or “boss” are not
       controlling. Factors the court should consider include the exercise of
       decision making authority, the nature of participation in the commission
       of the offense, the recruitment of accomplices, the claimed right to a
       larger share of the fruits of the crime, the degree of participation in
       planning or organizing the offense, the nature and scope of the illegal
       activity, and the degree of control and authority exercised over others.
       There can, of course, be more than one person who qualifies as a leader
       or organizer of a criminal association or conspiracy. This adjustment

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         does not apply to a defendant who merely suggests committing the
         offense.

 Id. cmt. n.4.

                 1.      Four-Level Enhancement under § 3B1.1(a)

         In United States v. Arbour, 559 F.3d 50 (1st Cir. 2009), the First Circuit

 observed that “[i]n order to invoke § 3B1.1(a), a district court must make a finding as

 to scope—that the criminal activity involved five or more participants or was

 otherwise extensive—and a finding as to status—that the defendant acted as an

 organizer and leader of the criminal activity.”                Id. at 53 (footnote and citation

 omitted).

         Here, neither Mr. French nor Mr. Russell contested the contention that the

 conspiracy involved five or more participants or was otherwise extensive.                           The

 participants included: (1) Malcolm French, (2) Scott MacPherson, (3) Kendall Chase,

 (4) Rodney Russell, (5) Moises Soto, (6) Miguel Roblero, (7) Abner Perez Morales, (8)

 Martin Roblero, (9) as many as five unidentified migrant laborers,2 (10) Robert Berg,

 and (11) Fai Littman. The “scope” part of the § 3B1.1 determination has been clearly

 met.

         The First Circuit has illuminated the status part of the analysis. Arbour, 559

 F.3d at 55-57.       To qualify for an enhancement under U.S.S.G. § 3B1.1(a), the

 defendant must have “either organized or led the criminal activity.”                        Id. at 55.

 Reviewing the factors set forth in Comment Four in the guidelines, the Arbour Court


 2       Miguel Roblero testified that when Mr. Berg picked them up in the woods, there were five
 other laborers that Mr. Soto had brought to the van. Partial Tr. of Proceedings, Test. of: Miguel Roblero
 70:2-7 (ECF No. 370).

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 noted that “[t]here need not be proof of each and every factor before a defendant can

 be termed an organizer or leader.” Id. (quoting United States v. Tejada-Beltran, 50

 F.3d 105, 111 (1st Cir. 1995)). “[T]he term leader implies the exercise of some degree

 of dominance or power in a hierarchy, and also implies the authority to ensure that

 other persons will heed commands.” Id. (quoting Tejada-Beltran, 50 F.3d at 111).

 “One may be classified as an organizer, though perhaps not as a leader, if he

 coordinates others so as to facilitate the commission of criminal activity.” Id. (quoting

 Tejada-Beltran, 50 F.3d at 111). In Arbour, the First Circuit clarified that in order

 to be a leader or organizer, the defendant does not need to have led or organized at

 least five other participants; the defendant “needs only to have led or organized one

 criminal participant, besides himself of course . . . .” Id. at 56 (emphasis in original)

 (citing U.S.S.G. § 3B1.1 cmt. n.2).

              2.     Three-Level Enhancement under § 3B1.1(b)

       In United States v. Acosta-Colon, 741 F.3d 179 (1st Cir. 2013), the First Circuit

 wrote that § 3B1.1(b) analysis “proceeds in a sequence of two steps”: first, “the

 sentencing judge must find that the underlying offense involved five or more persons

 (including the defendant) or was otherwise extensive”; second, “the judge must find

 that the defendant managed or supervised one or more of the other participants in

 that activity.” Id. at 205 (internal quotation marks and citations omitted). The Court

 has already taken the first step by establishing that this conspiracy indisputably

 involved five or more persons. Regarding the second step, the First Circuit has

 explained that “[a] defendant manages or supervises a person if he exercises control



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 over that person or oversees that person’s activities.”      United States v. Cruz-

 Rodriguez, 541 F.3d 19, 33 n.12 (1st Cir. 2008) (citing United States v. Cali, 87 F.3d

 571, 578 (1st Cir. 1996)).

       B.     The PSRs

              1.     Malcolm French

       In Malcolm French’s PSR, the PO assessed a four-level enhancement for Mr.

 French’s supervisory role. French PSR ¶ 40. The PO stated that “the defendant was

 responsible for recruiting at least seven migrant workers who manufactured and/or

 harvested marijuana on his behalf.” Id. Further, it wrote, the defendant “is also

 considered to have directed the activities of Scott MacPherson, Kendall Chase,

 Rodney Russell and Moises Soto.” Id.

              2.     Rodney Russell

       In Rodney Russell’s PSR, the PO assessed a three-level enhancement for Mr.

 Russell’s supervisory role. Russell PSR ¶ 40. The PO stated that “the defendant is

 viewed as a supervisor of approximately seven migrant workers who manufactured

 and/or harvested marijuana.” Id. The PO wrote that the conspiracy “also involved

 the following individuals: Malcolm French, Scott MacPherson, Kendall Chase, Moises

 Soto, Robert Berg and the defendant, as well as several other individuals who are

 named in the Offense Conduct section, but have not been charged.” Id.

       C.     Discussion

              1.     Malcolm French




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       The Court rejects Mr. French’s argument that he was neither a leader nor an

 organizer of the marijuana grow conspiracy.       In its Sentencing Order Imposing

 Obstruction of Justice Enhancements, the Court described Mr. French’s role:

       In sum, the marijuana grow operation was Malcolm French’s conspiracy.
       The marijuana was grown on his land; supplies were purchased through
       his company; he personally unloaded some of the supplies; he personally
       sold some of the marijuana; marijuana was cleaned in his warehouse;
       marijuana was stored in his barn; hiring migrant laborers was his idea;
       the laborers were hired through his contact; all the important co-
       conspirators were his long-term friends and associates; and when law
       enforcement ultimately appeared, the migrant laborers fled and hid
       overnight in his old friend’s barn at his request.

 Obstruction Order at 24.

       The Court’s view of Mr. French’s role in this conspiracy is summarized by the

 testimony of Martin Roblero: “[H]e was the one who paid for everything. He was the

 boss.” Dep. of Martin Roblero 31:15-17. Mr. Roblero also described Mr. French by

 referring to the Spanish terms, “patron” and “jefe,” terms synonymous with boss, and

 he testified that in addition to being his boss, Mr. French was the boss of Mr.

 MacPherson, Mr. Russell, and Mr. Soto. Id. 109:4-22.

       In short, Mr. French was the boss of the French marijuana conspiracy and

 merits a four-level enhancement under § 3B1.1(a) for being the leader or organizer of

 a criminal activity that involved five or more participants.

              2.     Rodney Russell

       Mr. Russell’s role in the French conspiracy was varied.         He joined the

 conspiracy in late 2006 or early 2007 after it was already underway, and he became

 a trusted associate. Russell PSR ¶ 10.



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       Not all of Mr. Russell’s work was supervisory. For example, he helped the

 migrant workers clean the marijuana, and he and Scott MacPherson packaged the

 product into Ziploc bags. Partial Tr. of Proceedings, Test. of: Miguel Roblero 15:3-11

 (ECF No. 370) (Miguel Roblero Test.). Mr. Russell, with Mr. French, Mr. MacPherson,

 Kevin Chase, and Kendall Chase, took the Pro-Mix pallets into the marijuana grow

 in the woods. Id. 24:2-6. Mr. Russell and Mr. MacPherson built the greenhouse for

 the saplings, id. 29:17-25, and helped haul an outbuilding to the marijuana grow site.

 Id. 35:11-36:18. Mr. Russell, along with Mr. French and Mr. MacPherson, also helped

 build the marijuana plant nests. Partial Tr. of Proceedings, Test. of: Moises Soto 22:9-

 25 (ECF No. 369).

       But some of it was. Mr. Russell, along with Mr. French and Mr. MacPherson,

 showed the migrant laborers how to process the stems and other marijuana waste

 product, Miguel Roblero Test. 18:25-19:9; how to fertilize the marijuana plants, id.

 31:2-6; and how to cut leaves off marijuana plants. Id. 31:7-11. Mr. Russell and Mr.

 MacPherson transported the migrant laborers to the work site. Martin Roblero Dep.

 34:16-19.     Mr. Russell and Mr. MacPherson would also spend the night at the

 marijuana grow site. Id. 51:17-22. When the police flew over the marijuana grow,

 Mr. Russell, along with Mr. MacPherson and Mr. French, connected the migrant

 workers with Mr. Berg’s van. Miguel Roblero Test. 68:14-69:8; Martin Roblero Dep.

 58:6-61:10.

       Based on his supervision of the migrant laborers, the Court concludes that

 Rodney Russell merits a three-level aggravating role enhancement. Mr. Russell



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 supervised and managed the activities of at least Miguel and Martin Roblero, as well

 as other migrant workers, and the second step under § 3B1.1(b) requires only that a

 defendant “exercise[] control over” a person or “oversee[] that person’s activities.”

 Cruz-Rodriguez, 541 F.3d at 33 n.12. Mr. Russell clearly did so, and for that reason,

 the Court will apply the three-level aggravating role enhancement for Mr. Russell

 under § 3B1.1(b).

 III.   SAFETY VALVE: MALCOLM FRENCH AND RODNEY RUSSELL—
        § 5C1.2

        A.    Overview

        Under U.S.S.G. § 5C1.2, a sentencing court may sentence a defendant without

 regard to any mandatory minimum statutory sentence, and under § 2D1.1(b)(17), a

 sentencing court may decrease the offense level by two levels, if the defendant meets

 the § 5C1.2(a)(1)-(5) criteria. Mr. French and Mr. Russell have argued that they are

 entitled to a safety valve reduction. French’s Second Suppl. Mem. at 11-12; Russell

 Suppl. Mem. at 1-2. The PSR has not recommended that either Mr. French or Mr.

 Russell be deemed eligible for safety valve treatment.

        B.    The Law

        Section 5C1.2 of the guidelines contains five criteria: (1) the defendant must

 not have more than one criminal history point, (2) the defendant must not have used

 violence or credible threats of violence or possess a firearm or other dangerous

 weapon, (3) the offense did not result in death or serious bodily injury, (4) the

 defendant was not an organizer, leader, manager, or supervisor, and (5) the




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 defendant must truthfully provide the government all information and evidence that

 the defendant has concerning the offense. U.S.S.G. § 5C1.2(a)(1)-(5).

       C.      Malcolm French and the Safety Valve

       Malcolm French is not entitled to safety valve treatment. He is precluded (1)

 under U.S.S.G. § 5C1.2(a)(4) because he was the organizer or leader of this conspiracy

 and (2) under § 5C1.2(a)(5) because he has not truthfully provided the Government

 all information and evidence that he has concerning the offenses of conviction. See

 French PSR ¶ 40.

       D.      Rodney Russell and the Safety Valve

       Rodney Russell is not entitled to safety valve treatment. He is precluded (1)

 under U.S.S.G. § 5C1.2(a)(1) because he has more than one criminal history point, (2)

 under § 5C1.2(a)(4) because he was the manager or supervisor of this conspiracy, and

 (3) under § 5C1.2(a)(5) because he has not truthfully provided the Government all

 information and evidence that he has concerning the offenses of conviction.         See

 Russell PSR ¶¶ 40, 59, 60.

       In Mr. Russell’s PSR, his criminal history is calculated as a criminal history

 category II based on two criminal history points as a result of his convictions for two

 counts of false statement relating to health care matters in this Court. Russell PSR

 ¶ 59. This disqualifies him under § 5C1.2(a)(1). Although Mr. Russell argues that

 his two criminal history points do not bar application of the safety valve, he is wrong.

 United States v. Hunt, 503 F.3d 34, 37 (1st Cir. 2007) (“Hunt has two criminal history

 points.    The plain language of the Sentencing Guidelines precludes him from



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 receiving the benefit of the safety valve regardless of whether the district court saw

 fit to designate his criminal history category as I by departing downward”) (citations

 omitted); see also United States v. Stevens, 300 F. Supp. 2d 203, 205 (D. Me. 2004)

 (“Under § 5C1.2(a)(1), the safety valve is available only when the defendant ‘does not

 have more than 1 criminal history point, as determined under the sentencing

 guidelines’”) (emphasis in original) (quoting U.S.S.G. 5C1.2(a)(1)).

 IV.   FAMILY TIES AND RESPONSIBILITIES: KENDALL CHASE—§ 5H1.6

       A.     An Overview

       In his sentencing memorandum, Mr. Chase argues that he is entitled to a

 downward departure under U.S.S.G. § 5H1.6, Family Ties and Responsibilities.

 Chase Mem. at 12-14. The argument is based largely on a series of three serious

 medical issues that Mr. Chase’s wife, Janeane, endured since being diagnosed with

 multiple sclerosis in 2009. Id. Following her multiple sclerosis diagnosis, Ms. Chase

 was involved in a serious automobile accident on August 1, 2010 and sustained

 multiple facial fractures, a left rib fracture, a collapsed lung on the left, and fractures

 of the right femur, and left radius and ulna. Id. Attach. 1 Medical Records at 1 (ECF

 No. 553) (Medical Records). She underwent ten surgeries following the accident.

 Chase Mem. at 9. Then on January 17, 2014, Ms. Chase was diagnosed with Uveitis

 and Cystoid Macular Edema.          Medical Records at 11-18.         The PSR has not

 recommended Mr. Chase be considered eligible for a family ties and responsibilities

 downward departure.

       B.     The Law



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       Section 5H1.6 of the guidelines provides:

       In sentencing a defendant convicted of an offense other than an offense
       described in the following paragraph, family ties and responsibilities are
       not ordinarily relevant in determining whether a departure may be
       warranted.

 U.S.S.G. § 5H1.6. The application note substantially expands upon this provision:

       (A) In General. In determining whether a departure is warranted
           under this policy statement, the court shall consider the following
           non-exhaustive list of circumstances:
             (i)    The seriousness of the offense.
             (ii) The involvement in the offense, if any, of members of the
             defendant’s family.
             (iii) The danger, if any, to members of the defendant’s family as
             a result of the offense.
       (B) Departures Based on Loss of Caretaking or Financial Support. A
           departure under this policy statement based on the loss of
           caretaking or financial support of the defendant’s family requires,
           in addition to the court’s consideration of the non-exhaustive list of
           circumstances in subdivision (A), the presence of the following
           circumstances:
             (i)    The defendant’s service of a sentence within the applicable
             guideline range will cause a substantial, direct, and specific loss
             of essential caretaking, or essential financial support, to the
             defendant’s family.
             (ii) The loss of caretaking or financial support substantially
             exceeds the harm ordinarily incident to incarceration for a
             similarly situated defendant. For example, the fact that the
             defendant’s family might incur some degree of financial hardship
             or suffer to some extent from the absence of a parent through
             incarceration is not in itself sufficient as a basis for departure
             because such hardship or suffering is of a sort ordinarily incident
             to incarceration.
             (iii) The loss of caretaking or financial support is one for which
             no effective remedial or ameliorative programs reasonably are
             available, making the defendant’s caretaking or financial support
             irreplaceable to the defendant’s family.
             (iv) The departure effectively will address the loss of
             caretaking or financial support.

 Id. cmt. n.1.



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       The First Circuit has observed that “[d]ownward departures for exceptional

 family circumstances are rare; they are only appropriate if the defendant provides

 ‘irreplaceable or otherwise extraordinary’ care.” United States v. Núñez-Polanco, 428

 Fed. App’x 13, 15 (1st Cir. 2011) (quoting United States v. Roselli, 366 F.3d 58, 68 (1st

 Cir. 2004)). Although this standard is rarely met, it is not impossible to do so. United

 States v. Roselli, 366 F.3d 58, 62-63 (1st Cir. 2004) (affirming a downward departure

 for a defendant where two of his four children suffered from cystic fibrosis and his

 wife suffered from fibromyalgia, preventing her from performing simple tasks);

 United States v. Sclamo, 997 F.2d 970, 972-74 (1st Cir. 1993) (also affirming

 downward departure under U.S.S.G. § 5H1.6).

       C.     Familial Ties and Responsibilities and Kendall Chase

       This Court is of course concerned about Ms. Chase and her medical troubles.

 However, the Court notes that Ms. Chase herself has written the Court that she was

 able to return to teaching five months after the motor vehicle accident. Chase Mem.

 Attach. 2 Character Letters at 9 (ECF No. 553). The Court also notes that Mr. Chase

 comes from a large and close family, many of whom are nearby.

       Based on what is before the Court, it is not convinced that Ms. Chase’s current

 medical conditions require Mr. Chase’s physical presence. Nor is the Court convinced

 that the surrounding family members and friends would be unable to provide Ms.

 Chase the care she requires. “A defendant’s incarceration will invariably cause

 hardship to his family.” United States v. Louis, 300 F.3d 78, 82 (1st Cir. 2002). The




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 Court concludes that Mr. Chase’s “circumstances . . . are unfortunate but not

 extraordinary.” Núñez-Polanco, 428 Fed. App’x at 15.

 V.      PHYSICAL AND MENTAL CONDITION: RODNEY RUSSELL—
         §§ 5H1.3 & 5H1.4

         A.     Overview

         Although the PO reviewed Mr. Russell’s medical conditions, the PSR does not

 recommend that Mr. Russell be deemed eligible for a § 5H1.4 downward departure.

 In his memorandum, Mr. Russell relies upon the description of his physical and

 mental problems in requesting a downward departure under § 5H1.4.3 Russell Mem.

 at 6.

         The PRS describes Mr. Russell as having had a problem with sleep apnea that

 had required his use of a continuous positive airway pressure machine (CPAP) before

 surgeries in 2003 and 2009. Russell PSR ¶ 68. There is no mention of any ongoing

 sleep apnea problem following the surgery. Id.

         The PSR states that Mr. Russell has been treated for high cholesterol and

 chronic back pain. Id. Mr. Russell reported that he has been in almost constant back

 pain, worse in the morning and improving during the day. Id. In 2009, Mr. Russell

 underwent a steroid injection, but it did not improve his symptoms. Id. In 2013, he

 was diagnosed with spinal stenosis and degenerative disc disease, and he had been




 3      Mr. Russell does not mention § 5H1.3 as a ground for downward departure, but he does
 mention his mental infirmities as a possible basis for such a departure and mental infirmities are
 covered by § 5H1.3 of the guidelines. Russell Mem. at 6. The Court considered Mr. Russell’s argument
 under both guideline sections.

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 prescribed Gabapentin to alleviate the nerve pain associated with his back problems.

 Id.

       The PSR notes that Mr. Russell fell off a ladder in 2009 and broke his elbow in

 two places; however, he has recovered from that incident. Id.

       Turning to his mental and emotional health, the PSR says that Dr. Saunders

 has treated Mr. Russell for post-traumatic stress disorder (PTSD) since 1999. Id. ¶

 70. The problems began with his unemployment and his wife having an affair with

 his brother. Id. His first wife had also hit their son with a motor vehicle, causing

 him injury, and had set their house on fire. Id. Mr. Russell stopped the treatment

 for two years but resumed in the fall of 2009. Id. Mr. Russell was depressed because

 he had divorced his second wife due to her alcoholism and had been fired from another

 job. Id. Dr. Saunders diagnosed PTSD and major depressive disorder. Id. He is

 currently prescribed Citalopram for these mental and emotional conditions.

       B.     Law

       Section 5H1.3 of the guidelines provides:

       Mental and emotional conditions may be relevant in determining
       whether a departure is warranted, if such conditions, individually or in
       combination with other offender characteristics, are present to an
       unusual degree and distinguish the case from the typical cases covered
       by the guidelines.

 U.S.S.G. § 5H1.3. Section 5H1.4 of the guidelines provides:

       Physical condition or appearance, including physique, may be relevant
       in determining whether a departure is warranted, if the condition or
       appearance, individually or in combination with other offender
       characteristics, is present to an unusual degree and distinguishes the
       case from the typical cases covered by the guidelines. An extraordinary
       physical impairment may be a reason to depart downward; e.g., in the

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       case of a seriously infirm defendant, home detention may be as efficient
       as, and less costly than, imprisonment.

 Id. § 5H1.4. The First Circuit has written that health is “not ordinarily [a] relevant

 sentencing factor.” United States v. Candelaria-Silva, 166 F.3d 19, 41 (1st Cir. 1999).

 A defendant’s mental or physical condition are “discouraged” departures under the

 guidelines. United States v. Derbes, 369 F.3d 579, 580-81 (1st Cir. 2004).

       Emphasizing the requirement that the physical infirmity be “extraordinary” to

 merit a downward departure, the First Circuit has explained that a health-related

 departure might be justified in the unusual case where the defendant “would not get,

 or was at least unlikely to get, adequate treatment in prison.” United States v. Hoey,

 508 F.3d 687, 693 (1st Cir. 2007) (quoting Derbes, 369 F.3d at 582).

       Regarding a downward departure for a mental condition, the First Circuit has

 written that to make a downward departure based upon a defendant’s mental

 condition, “the sentencing court must first make a finding that the mental condition

 is extraordinary or atypical.” United States v. Maldonardo-Montalvo, 356 F.3d 65,

 74 (1st Cir. 2003) (citations omitted). In Maldonardo-Montalvo, for example, the

 First Circuit reversed a sentencing court’s determination that the defendant, who

 suffered from major or severe depression, was entitled to a § 5H1.3 downward

 departure. Id. at 74-75. The First Circuit noted that the defendant had improved

 with medication and that he had denied suicidal ideation. Id. at 75.

       C.     Rodney Russell and Mental and Physical Infirmity

       The Court easily concludes that Mr. Russell is not entitled to a downward

 departure as a result of his mental and physical conditions. The Court is not clear


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 that Mr. Russell continues to suffer from sleep apnea following his surgeries. In any

 event, sleep apnea, a bad back, PTSD, and a major depressive disorder—even when

 combined—are unfortunate but not extraordinary or unusual conditions, and Mr.

 Russell has offered no evidence to suggest that he could not be adequately treated for

 these conditions within the Bureau of Prisons in the ordinary course.

 VI.   PUBLIC SERVICE: RODNEY RUSSELL—§ 5H1.11

       A.     Overview

       The PO did not recommend a downward departure for Mr. Russell based on

 his civil, charitable, or public service activities. In his memorandum, Mr. Russell

 mentions his work as a leader of the Youth Choir at St. Francis Xavier & Paul the

 Apostle Church in Milo, Maine, as a volunteer for St. Joseph Hospital in Bangor,

 Maine, and as a volunteer for the Pope Memorial Humane Society of Knox County in

 Thomaston, Maine. Russell Mem. at 7. The PSR mentions his volunteer work for the

 Pope Humane Society in 2012 and 2013 and quotes its records as reflecting that Mr.

 Russell was “an excellent worker and an important part of our volunteer crew.”

 Russell PSR ¶ 74.

       B.     The Law

       Section 5H1.11 of the guidelines provides: “Civic, charitable, or public service;

 employment-related contributions; and similar prior good works are not ordinarily

 relevant in determining whether a departure is warranted.” U.S.S.G. § 5H1.11. The

 First Circuit has observed that “public service . . . is a permitted but discouraged

 ground for departure.” United States v. Cacho-Bonilla, 404 F.3d 84, 95 (1st Cir. 2005)



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 (citations omitted). In United States v. DeMasi, 40 F.3d 1306 (1st Cir. 1994), the First

 Circuit framed the question as to whether the defendant’s record of good works

 “stands out from the crowd.” Id. at 1324.

        C.      Public Service and Rodney Russell

        Though commendable, the Court does not consider Mr. Russell’s civic,

 charitable or public service to stand out from the crowd.

 VII.   CONCLUSION

        The Court resolves the remaining guidelines issues in this case as follows:

        (1) The Court concludes that Malcolm French is properly subject to a

             four-level leadership or organizer role enhancement under U.S.S.G.

             § 3B1.1(a);

        (2) The Court concludes that Rodney Russell is properly subject to a

             three-level supervisor or manager role enhancement under U.S.S.G.

             § 3B1.1(b);

        (3) The Court concludes that neither Malcolm French nor Rodney

             Russell is entitled to safety valve treatment under U.S.S.G. §

             5C1.2(a)(1);

        (4) The Court concludes that Kendall Chase is not entitled to a

             downward departure under U.S.S.G. § 5H1.6 for family ties and

             responsibilities;




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       (5) The Court concludes that Rodney Russell is not entitled to a

          downward departure under U.S.S.G. § 5H1.3 or § 5H1.4 for his

          mental or physical conditions; and

       (6) The Court concludes that Rodney Russell is not entitled to a

          downward departure for public service under U.S.S.G. § 5H1.11.

       SO ORDERED.


                                      /s/ John A. Woodcock, Jr.
                                      JOHN A. WOODCOCK, JR.
                                      UNITED STATES DISTRICT JUDGE

 Dated this 20th day of April, 2016




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